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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                                    S5 19 CR 536 (PKC)

                 -against-                                               ORDER

DEE JAY WHITE (4),

                                    Defendants.
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CASTEL, U.S.D.J.

                 There will be a Curcio hearing on November 17, 2020 at 12:00 p.m. in

Courtroom 11D at 500 Pearl Street, New York, N.Y.              Avraham C. Moskowitz is

appointed pursuant to the Criminal Justice Act to represent Mr. White with respect to the

issues at the Curcio hearing, Messrs. Donaldson, Moskowitz and the government shall

appear at the hearing, along with Mr. White.

                 SO ORDERED.




Dated: New York, New York
       November 5, 2020
